Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 1 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 2 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 3 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 4 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 5 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 6 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 7 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 8 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 9 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 10 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 11 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 12 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 13 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 14 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 15 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 16 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 17 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 18 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 19 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 20 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 21 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 22 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 23 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 24 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 25 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 26 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 27 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 28 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 29 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 30 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 31 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 32 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 33 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 34 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 35 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 36 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 37 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 38 of 40
Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 39 of 40
     Case 3:21-md-02981-JD Document 888-33 Filed 12/21/23 Page 40 of 40



Control Nm11b"er :            G00G-PLAV-000285-82.1_ R

All Custodians        -       Koch i ka r � P.urn i ma

Title. :                      E���ystem Enab lement
                              overview and N!e,ct Steps

Fi 1 ename ·                  Ecos-ys tem En'ati l e-ment
                              overvi e.w and Next
                              st_ln 30--ll nEi B·GAbScFJJRvC7 AGP
                              nX02jiRWTaeNMbKobrD-ppt�

Datecreated -                 2/6/202() 1.2 :OO AM

Ti mec:reated -               00: S 1: 00

_DateLastllodi-fi ed -        1.1/17 /2020 J� .: 00 AM

Ti.meLastModifi ed            0.6:·191:0(J

RecordType :                  E -Do,cument

AP-Pl i ca1;:i on
Author :                      Ashraf Hassan

P.roducti on Vol .        :   PROD048
                  r
Gr9up .Ider ti-fi �r

s_ubject :

Date-Sent

Times,ent

Email From

Email To      ·

Emaii (:,C

Effia;l QCC




                                                                    EXHIBIT 8519.R-040
